          Case: 21-16506, 06/30/2023, ID: 12747220, DktEntry: 246, Page 1 of 2




                      UNITED STATES COURT OF APPEALS                      FILED
                             FOR THE NINTH CIRCUIT                         JUN 30 2023
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
EPIC GAMES, INC.,                                No.    21-16506

      Plaintiff-counter-                         D.C. No. 4:20-cv-05640-YGR
      defendant-Appellant,                       Northern District of California,
                                                 Oakland
 v.
                                                 ORDER
APPLE, INC.,

      Defendant-counter-claimant-
      Appellee.


EPIC GAMES, INC.,                                No.    21-16695

      Plaintiff-counter-                         D.C. No. 4:20-cv-05640-YGR
      defendant-Appellee,

 v.

APPLE, INC.,

      Defendant-counter-claimant-
      Appellant.

Before: S.R. THOMAS and M. SMITH, Circuit Judges, and McSHANE,* District
Judge.

      The panel has unanimously voted to deny the petitions for panel rehearing.

Judge M. Smith has voted to deny the petitions for rehearing en banc, and Judges


      *
              The Honorable Michael J. McShane, United States District Judge for
the District of Oregon, sitting by designation.
        Case: 21-16506, 06/30/2023, ID: 12747220, DktEntry: 246, Page 2 of 2




S.R. Thomas and McShane so recommend. The full court has been advised of the

petitions for rehearing en banc and no judge of the court has requested a vote. Fed.

R. App. P. 35. The petitions for panel rehearing and rehearing en banc (Dkt Nos.

224 and 225) are DENIED.




                                         2
